Case 8:21-cv-00449-DOC-JDE Document 11 Filed 04/08/21 Page 1 of 1 Page ID #:28




                           UNITED STATES DISTRICT COURT                         JS-6
                          CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

 Case No: SA CV 21-00449-DOC-(JDEx)                           Date: April 8, 2021

 Title:      Brandon Fields v. Nationwide Recovery Systems, LTD Limited Partnership



 PRESENT: THE HONORABLE DAVID O. CARTER, JUDGE

                   Kelly Davis                               Not Present
                 Courtroom Clerk                            Court Reporter

          ATTORNEYS PRESENT FOR                     ATTORNEYS PRESENT FOR
                PLAINTIFF:                               DEFENDANT:
               None Present                               None Present


          PROCEEDINGS: (IN CHAMBERS): ORDER DISMISSING CIVIL
          CASE

        The Court, having been notified by counsel for the parties that this action
 has been settled re Notices of Settlement [10], hereby orders this action
 DISMISSED without prejudice. The Court hereby orders ALL proceedings in the
 case VACATED and taken off calendar. The Court retains jurisdiction for 30 days
 to vacate this order and reopen the action upon showing of good cause that the
 settlement has not been consummated.

          The Clerk shall serve this minute order on the parties.




  MINUTES FORM 11
  CIVIL-GEN                                                         Initials of Deputy Clerk: KD
